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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

  10   JEFFERY R. WERNER,                        Case No. 2:20-cv-01024-SVW-AFM
  11                           Plaintiff,        ORDER
  12   v.

  13   RED BLUE MEDIA INC.; and DOES
       1-10, inclusive,
  14                           Defendant.
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             Having considered the Joint Motion to Modify the Scheduling Order and
  18
       good cause appearing,
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             IT IS HEREBY ORDERED as follows:
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       The trial date set forth in the Civil Trial Preparation Order [Dkt. No. 23] is
  21
       hereby extended to June , 2021DWDP.       The pretrial conference date is
  22
       hereby rescheduled to 0D\, 2021DWSP.
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  24
       DATED: January , 2021
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                                             ______________________________
                                             ______________________
  27                                         Hon.
                                             H    Stephen
                                                  Ste he V.V Wilson
                                                              Wil n
                                             United States District Court Judge
  28
                                              1
                                        [PROPOSED] ORDER
